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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

LEONARD CHOCHOLEK, an
individual,

       Plaintiff,

v.                                                   Case No.: 2:21-cv-586-JLB-MRM

WESTERN FLORIDA LIGHTING,
INC. and TIMOTHY GREENE,

       Defendants.


                     FLSA FAST-TRACK SCHEDULING ORDER

       Consistent with the just, speedy, and inexpensive administration of justice and

pursuant to Rule 16, the Court finds it necessary to implement a schedule tailored to

meet the particular circumstances of a case brought under the Fair Labor Standards

Act (“FLSA”). All parties must comply immediately with Rule 7.1 and Local Rule

3.03 to file a Disclosure Statement using the form available on the presiding judge’s

webpage.

       It is ORDERED that all1 discovery is STAYED pending compliance with the

following deadlines:

       1.      By October 23, 2021, the parties shall serve upon each other (but not file)

copies of the following:


1
  The stay encompasses the requirements for Rule 26(a)(1)’s initial disclosures, a Rule 26(f) discovery
conference, and the filing of a Local Rule 3.02(a) case management report. The parties are free to
stipulate to exchanging Rule 26(a)(1) initial disclosures on their own.
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                Plaintiff:2 All documents in Plaintiff's possession, custody or
                control that pertain to the unpaid wages claimed in the
                Complaint.

                Defendant: All time sheets and payroll records in
                Defendant's possession, custody or control that pertain to
                work performed by Plaintiff during the time period for
                which Plaintiff claims unpaid wages.

        2.      By November 22, 2021, Plaintiff shall serve VERIFIED answers to the

Court's Interrogatories available on the presiding judge’s webpage and file the answers

with the Court entitled “Notice of Filing Answers to Court’s Interrogatories.”

        3.      In collective actions, an exchange of documents as referenced in

Paragraph 1 shall occur with respect to opt-in Plaintiffs within FOURTEEN (14)

DAYS of their filing of opt-in notices with this Court, and all opt-in Plaintiffs shall

thereafter file and serve their VERIFIED answers to the Court's Interrogatories within

TWENTY-ONE (21) DAYS of filing an opt-in notice with the Court.

        4.      By December 22, 2021, the parties shall file any motions to add or join

parties, or amend the pleadings.

        5.      This action is REFERRED to mediation. The mediation must be

conducted as outlined in this Order and pursuant to Chapter 4 of the Local Rules as

follows:

                    a. Scheduling Mediation: The parties must mediate no later than

                        January 21, 2022. Neither party may cancel or reschedule a


2
  “Plaintiff” includes any opt-in plaintiffs who consented to join the action by the date of this
Scheduling Order. If there is more than one plaintiff or defendant, the singular reference to plaintiff or
defendant shall include the plural.




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                 mediation conference without the Court’s permission. Motions to

                 extend the mediation deadline are strongly disfavored and will be

                 granted only in extraordinary circumstances. Unless otherwise

                 agreed, the parties must bear the mediation expenses equally and

                 pay immediately after the mediation.

              b. General Rules on Mediation: (1) The parties must designate a

                 mediator and indicate whether the mediator is certified; (2) The

                 parties must establish a mediation deadline as outlined above; (3)

                 Lead counsel must confirm a mediation date agreeable to the

                 mediator, and the parties must notify the presiding judge of the

                 date by filing a Notice of Mediation at least FOURTEEN (14)

                 DAYS before the mediation conference; (4) Lead counsel, the

                 parties, or a party’s surrogate satisfactory to the mediator, and any

                 necessary insurance carrier representative must attend mediation;

                 (5) Any unexcused absence or departure from mediation is

                 sanctionable; (6) The mediator must report the result of the

                 mediation and whether all required persons attended mediation

                 within SEVEN (7) DAYS of the mediation taking place; and (7)

                 The substance of the mediation is confidential and no party,

                 lawyer, or other participant is bound by, may record, or without

                 approval of the Court may disclose any event, including any

                 statement confirming or denying a fact – except settlement – that



                                        3
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                             occurs during the mediation.

          6.      Within SEVEN (7) DAYS after concluding the settlement conference,

counsel shall jointly file a Report Regarding Settlement that notifies the Court

whether:

                      i.        the parties reached a settlement;

                      ii.       the parties wish to extend the deadline to file a Case
                                Management Report and Notice of a Related Action for thirty
                                (30) additional days to complete settlement discussions;

                      iii.      a party requests a settlement conference before a United States
                                Magistrate Judge who, upon the consent of the parties, shall
                                have the authority to approve the settlement or otherwise
                                terminate this action; or

                      iv.       the parties have exhausted all settlement efforts.

          7.      If the case does not settle, then the parties must file—within SEVEN (7)

DAYS of the mediation—the FLSA Fast-Track Case Management Report available

on the presiding judge’s webpage. Upon filing the Case Management Report, the

discovery stay expires. After reviewing the Fast-Track Case Management Report, the

Court will hold a preliminary pretrial conference. Lead counsel must appear in person

and be prepared to discuss the claims, defenses, and any unique aspects of the case.

This case will be set for trial about eight months after the mediation conference.

          8.      Should the parties resolve the dispute at any later time, then they shall

immediately file an appropriate paper to terminate this action.3




3
    For more specific preferences or requirements, see the presiding judge’s webpage.




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        9.   At any time, the parties may consent to proceed—for all purposes—

before the assigned Magistrate Judge by filing an AO 85 form available on the Court’s

website.

        DONE and ORDERED in Fort Myers, Florida on this 23rd day of September

2021.




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